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              IN THE UNITED STATES DISTRICT COURT FOR
                 THE SOUTHERN DISTRICT OF         15 PH 3 56
                          DUBLIN DIVISION

MICHAEL TYRONE NJAJVJS,

     Petitioner,

V.                                    CASE NOS. CV309-001
                                                 CR3 05-024
UNITED STATES OF AMERICA,


     Respondent.


                            ORDER

     Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 10), to which no objections have been

filed. After a careful review of the record in this case,

the Court concurs with the Magistrate Judge's Report and

Recommendation. Therefore, the Court ADOPTS the Report and

Recommendation as its Opinion in this case. Petitioner's

sentence in the underlying criminal case, 3:05-cr-024, is

VACATED and an identical sentence is REIMPOSED. The Clerk

of Court is DIRECTED to construe Petitioner's Motion for

Leave to Appeal (CV309-001, Doc. 16; CR305-024, Doc. 181)

as a Notice of Appeal of his reimposed sentence. Pursuant

to Federal Rule of Appellate Procedure 4(b) (2), the Notice

of Appeal is deemed filed after entry of and on the same

date as the reimposed sentence.          Petitioner's Motion to

Appoint Counsel is GRANTED.         (CV309-001, Doc. 16; CR305-
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024, Doc. 181.) Mr. 0. Hale Almand, Jr. shall continue to

represent Petitioner during the appeal of Petitioner's

sentence. The Clerk of Court is DIRECTED to CLOSE THIS

CASE.
                     ly
        SO ORDERED this of November, 2009.




                      WILLIAM T. MOORE, JR., CH&P'P JUDGE
                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA




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